                    Case: 22-3952    Document: 8     Filed: 01/17/2023   Page: 1




                                        Case No. 22-3952


                       IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                             _______________________________
                                          JOHN KOE,
                                       Plaintiff-Appellant,
                                                v.
                   UNIVERSITY HOSPITALS HEALTH SYSTEM, INC., et al.
                                      Defendants-Appellees.
                             _______________________________
On Appeal From The United States District Court for the Northern District of Ohio
                     Case No. 1:22-cv-1455-DAP, Judge Dan Aaron Polster


                     APPELLEES’ RULE 27(d) MOTION TO DISMISS
                      THE APPEAL FOR LACK OF JURISDICTION


                                             /s/David A. Campbell
                                             David A. Campbell (0066494)
                                             Donald G. Slezak (0092422)
                                             LEWIS BRISBOIS BISGAARD & SMITH, LLP
                                             1375 E. 9th Street, suite 2250
                                             Cleveland, OH 44114
                                             Telephone: 216-298-1262
                                             Facsimile: 216-344-9421
                                             david.a.campbell@lewisbrisbois.com
                                             donald.slezak@lewisbrisbois.com

                                             Attorney for Appellees


4861-0475-7833.1                                1
                    Case: 22-3952    Document: 8   Filed: 01/17/2023     Page: 2




I.       MOTION TO DISMISS FOR LACK OF JURISDICTION

         Pursuant to Sixth Circuit Rule 27(d), Appellees University Hospitals Health

Systems, Inc. (“UHHS”) and University Hospitals Cleveland Medical Center

(“UHCMC”) (UHHS and UHCMC are collectively, “Appellees”) respectfully

moves this Court to dismiss Appellant John Koe’s (“Appellant”) appeal for lack of

jurisdiction.

         Appellant is a former participant in Appellees’ residency program.

Appellant’s appeal (the “Appeal”) seeks review of three orders issued by the

United States District Court for the Northern District of Ohio’s (the “District

Court”): (1) the District Court’s Memorandum and Opinion and Order dismissing

Appellant’s Complaint (the “Dismissal Order”); (2) a protective order issued by the

District Court pertaining to Appellant’s inappropriate communications with

Appellees’ officers and employees (the “Protective Order”); and (3) the District

Court’s            order   denying   Appellant’s   motion     for      reconsideration   (the

“Reconsideration Order”). As explained in this Motion, none of the orders issued

by the District Court are final, appealable orders.

          As an initial matter, Appellant filed his Complaint anonymously and

without first seeking or obtaining a protective order from the District Court to do

so. Appellant has also filed this Appeal using a pseudonym and has not sought a

protective order from this Court to do so. Importantly, where an Appellant fails to


4861-0475-7833.1                               2
                   Case: 22-3952   Document: 8   Filed: 01/17/2023   Page: 3




obtain permission to proceed anonymously with the District Court or otherwise

comply with the filing requirements pertaining to a true identity, any appeal

therefrom must be dismissed for lack of jurisdiction. See Citizens for a Strong

Ohio v. Marsh, 123 Fed. Appx. 630, 637 (6th Cir. 2005) (“[f]ailure to seek

permission to proceed under a pseudonym is fatal to an anonymous plaintiff’s

case…”).

         As to the Dismissal Order, the District Court dismissed Appellant’s

Complaint without prejudice and for the purpose of providing Appellant with an

opportunity to cure the jurisdictional deficiencies through the filing of an amended

complaint. This Circuit holds that a dismissal without prejudice that can be cured

through an amended complaint is not a final, appealable order. See Thompson v.

Mich. Dep’t. of Corr., 23 Fed. Appx. 486, 487-88 (6th Cir. 2001).

         Similarly, the Sixth Circuit has held that the issuance of a protective order is

not a final, appealable order. See Jaiyeola v. Toyota Mfg. N. Am., No. 18-1483,

2018 U.S. App. 12756, *1 (6th Cir. May 16, 2018) (dismissing appeal of protective

order, among other items, as the court lacked jurisdiction because the district

court’s order was not a final, appealable order).

         Finally, because the Reconsideration Order is merely derived from the

Court’s prior orders, it is likewise not a final, appealable order. See Westerfield v.

United States, 366 Fed. Appx. 614, 619 (6th Cir. 2010) (an order denying a motion


4861-0475-7833.1                             3
                   Case: 22-3952   Document: 8   Filed: 01/17/2023   Page: 4




for reconsideration “is merely a coda” to the underlying order. Accordingly,

Appellant’s Appeal does not seek review of any final, appealable order issued by

the District Court and, therefore, the Appeal must be dismissed for lack of

jurisdiction.

II.      RELEVANT FACTS

         A.        Relevant Procedural Background.

         This lawsuit arises out of Appellant’s termination from a residency program

on April 23, 2021. (ECF #1, pgs. 6 and 10-11). Appellant alleges that his

termination from the residency program was due to either his sex or disability

status. (ECF #1, pg. 4). Appellant filed the complaint anonymously under the

pseudonym John Koe. (ECF #1, pg. 1). The Complaint contained a reference to a

motion to proceed anonymously, but no motion for a protective order to proceed

anonymously was filed with the District Court. (ECF # 1). Appellant also filed a

motion to proceed in forma pauperis (ECF #2).

         Appellees filed a motion to dismiss the Complaint. (ECF #3). Appellant did

not oppose the motion to dismiss. (See generally, District Court docket).

         Appellees also filed a motion for a protective order. (ECF # 5). The motion

for a protective order sought to obtain a protective order due to the many

inappropriate communications sent from Appellant to Appellees’ officers and




4861-0475-7833.1                             4
                   Case: 22-3952    Document: 8    Filed: 01/17/2023   Page: 5




employees. (ECF # 5).              On October 11, 2022, the District Court issued the

Protective Order. (ECF # 6).

         On October 13, 2022, the District Court issued its Dismissal Order. (ECF #

7).     The Dismissal Order granted Appellee’s motion to dismiss and denied

Appellant’s motion to proceed anonymously. (ECF # 7). Relevant to this Motion,

the District Court’s Dismissal Order dismissed Appellant’s Complaint without

prejudice. (ECF # 7 at 6). Indeed, the District Court’s Dismissal Order did not

terminate the action. (ECF # 7). Rather, the Dismissal Order merely dismissed the

complaint to provide Appellant with the opportunity to file an amended complaint

to cure the jurisdictional issue:

                   “If Plaintiff wishes to continue this case, he must within
                   fourteen (14) days of the entry of this order: (1) file a
                   motion to reopen the case; and (2) file an amended
                   complaint identifying himself.”

(ECF # 7 at 6).

         The Dismissal Order also certified that any appeal of the Dismissal Order

could not be taken in good faith for purposes of proceeding in forma pauperis on

appeal. (ECF # 7 at 6).

         Appellant did not file a motion to reopen the case or other file an amended

complaint identifying himself. (See District Court docket). Rather, Appellant filed

a motion to alter or amend judgment and for reconsideration of the October 13,

2022 order dismissing plaintiff’s action, the order denying plaintiff’s request to

4861-0475-7833.1                               5
                   Case: 22-3952   Document: 8   Filed: 01/17/2023   Page: 6




proceed under a pseudonym, and the order entered on October 11, 2022 (the

“Motion for Reconsideration”). (ECF # 9). The Court issued its Reconsideration

Order on November 10, 2022, denying Plaintiff’s Motion for Reconsideration.

(ECF # 10).

         B.        The Appeal.

         Appellant filed this Appeal on November 14, 2022. (ECF # 11). The Appeal

seeks review of the District Court’s Dismissal Order, the Protective Order, and the

Reconsideration Order. (ECF # 11). The Appeal was filed anonymously and

Appellant has not sought to obtain a protective order permitting him to proceed

anonymously. (See Sixth Circuit Docket).

III.     LAW AND ARGUMENT

         A.        Standard Of Review.

         28 U.S.C. § 1291 gives the Courts of Appeals authority to review “appeals

from all final decisions of the district courts.” In re Post-Newsweek Stations,

Michigan, Inc., 722 F.2d 325, 329 (6th Cir. 1983). “The effect of the statute is to

disallow appeal from a decision which is tentative, informal, or incomplete.

Appeal gives the court of appeals a power of review, not one of intervention. So

long as the matter remains open, unfinished, or inconclusive, there may be no

intrusion by appeal.” Id. (internal quotations and citations omitted).




4861-0475-7833.1                             6
                   Case: 22-3952   Document: 8   Filed: 01/17/2023   Page: 7




         As set forth below, the District Court’s Dismissal Order, the Protective

Order, and the Reconsideration Order were not final, appealable orders because the

matter remained open, was unfinished, and was inconclusive. Accordingly, the

Appeal should be dismissed for lack of jurisdiction.

         B.        This Court Lacks Jurisdiction Over This Appeal Because
                   Appellant Has Not Been Granted A Protective Order To Proceed
                   Anonymously.

         Appellant filed his Complaint in the District Court using a pseudonym.

Appellant did not obtain a protective order to proceed anonymously and, therefore,

the District Court properly dismissed the Complaint for lack of jurisdiction.1

Importantly, where an Appellant fails to obtain permission to proceed

anonymously with the District Court or otherwise comply with the filing

requirements pertaining to a true identity, any appeal therefrom must be dismissed

for lack of jurisdiction. See Citizens for a Strong Ohio v. Marsh, 123 Fed. Appx.

630, 637 (6th Cir. 2005) (“[f]ailure to seek permission to proceed under a

pseudonym is fatal to an anonymous plaintiff’s case…”); see also W.N.J. v. Yocom,

257 F.3d 1171, 1172 (10th Cir. 2001) (“[b]ecause plaintiffs used pseudonyms

without first obtaining permission from the district court, the case was improperly

filed and must be dismissed for lack of appellate jurisdiction.”); Publicola v.

1
 Although the District Court considered Appellant’s Complaint to also contain a
motion for leave to proceed anonymously, Sixth Circuit precedent requires a party
seeking to proceed anonymously to seek a protective order to do so. Citizens for a
Strong Ohio v. Marsh, 123 Fed. Appx. 630, 636-37 (6th Cir. 2005).
4861-0475-7833.1                             7
                   Case: 22-3952   Document: 8   Filed: 01/17/2023   Page: 8




Lomenzo, No. 22-795, 2022 U.S. App. LEXIS 32798, *13-16 (2nd Cir. Nov. 29,

2022) (dismissal of appeal appropriate where appellant proceeding anonymously

failed to comply with the court’s requirements to proceed under true name).

         Accordingly, because Appellant failed to file for a protective order – or

otherwise obtain permission – to proceed anonymously with the District Court, the

Appeal was improperly filed and must be dismissed for lack of jurisdiction.

         C.        The Dismissal Order Is Not A Final, Appealable Order.

         This Court considers dismissals without prejudice to be final, appealable

orders only where the district court’s order operates as the dismissal of an entire

action, and not merely the dismissal of a complaint. See Thompson v. Mich. Dep’t.

of Corr., 23 Fed. Appx. 486, 487-88 (6th Cir. 2001). Indeed, this Court does not

consider an order to be a final, appealable order if the order can be cured through

an amended complaint. See Zayed v. United States, 368 F.3d 902, 904-05 (6th Cir.

2004)(“[w]here an action, and not merely an amenable complaint (or petition), is

dismissed without prejudice, the order of dismissal is final and appealable”); see

also Thompson v. Mich. Dep’t. of Corr., 23 Fed. Appx. 486, 487-88 (6th Cir. 2001)

(“the dismissal of a complaint without prejudice to an amendment of the complaint

is not a final and appealable order”).

         Here, the District Court’s Dismissal Order did not operate as a dismissal of

an entire action. The Dismissal Order did not terminate the action or otherwise


4861-0475-7833.1                             8
                   Case: 22-3952        Document: 8           Filed: 01/17/2023          Page: 9




“make clear that the district court intended to dismiss the entire action, rather than

simply the complaint.” Thompson v. Mich. Dep’t. of Corr., 23 Fed. Appx. 486,

487-88 (6th Cir. 2001) (citing Mobley v. McCormick, 40 F.3d 337, 339-40 (10th

Cir. 1994)). In fact, the Dismissal Order provided Appellant with a road map and

opportunity to cure the deficiency with his Complaint by filing an amended

complaint:

                   “If Plaintiff wishes to continue this case, he must within
                   fourteen (14) days of the entry of this order: (1) file a
                   motion to reopen this case; and (2) file an amended
                   complaint identifying himself.”
(Dismissal Order at 6).

         Accordingly, the District Court matter remained open, unfinished, and

inconclusive. Appellant’s decision to refuse to file an amended complaint is at his

own peril. Therefore, the Dismissal Order was not a final, appealable order and,

thus, the Appeal must be dismissed for lack of jurisdiction.

         Furthermore, because the District Court’s Reconsideration Order is derived

from the Dismissal Order, it is necessarily not a final, appealable order and must be

dismissed for lack of jurisdiction. See Westerfield v. United States, 366 Fed. Appx.

614, 619 (6th Cir. 2010) (an order denying a motion for reconsideration “is merely

a coda” to the underlying order).2



2
  Appellant also appeals the District Court’s certification that any appeal of the Dismissal Order would not be taken
in good faith pursuant to 28 U.S.C. § 1915(a)(3). The District Court’s certification is not a final appealable order

4861-0475-7833.1                                         9
                   Case: 22-3952     Document: 8          Filed: 01/17/2023        Page: 10




         D.         The District Court’s Protective Order Is Not A Final, Appealable
                    Order.

         Appellant also appeal the District Court’s Protective Order. Much like the

Dismissal Order, the Protective Order is not a final, appealable order. The Sixth

Circuit has dismissed appeals based upon a district court’s protective order, finding

that the protective orders are not final, appealable orders. See, e.g., Jaiyeola v.

Toyota Mfg. N. Am., No. 18-1483, 2018 U.S. App. 12756, *1 (6th Cir. May 16,

2018) (dismissing appeal of protective order, among other items, as the court

lacked jurisdiction because the district court’s order was not a final, appealable

order); see also Howes v. Ashland Oil, Inc., No. 87-5939, 1991 U.S. App. LEXIS

10306, *24 (6th Cir. 1991). This is especially true where the underlying matter

“remains open, unfinished, or inconclusive.” Id. at * 17. As set forth above, the

District Court’s Dismissal Order was not a final, appealable order and, therefore,

the District Court matter remained open, unfinished, and inconclusive.

Accordingly, the Protective Order is not a final, appealable order and the Appeal

must be dismissed for lack of jurisdiction.

IV.      CONCLUSION

         Based on the above-cited arguments and authorities, Appellant’s Appeal

should be dismissed for lack of jurisdiction. Appellant failed to obtain a protective



and, in fact, Appellant has availed himself of the procedures set forth in Fed. App. R. 24 to proceed in forma
pauperis for purposes of this Appeal.

4861-0475-7833.1                                     10
                   Case: 22-3952   Document: 8    Filed: 01/17/2023   Page: 11




order from the District Court to proceed anonymously and his anonymously-filed

Appeal devises this Court of jurisdiction over the appeal. Furthermore, the District

Court’s Dismissal Order, the Protective Order, and the Reconsideration Order are

not final, appealable orders and, therefore, the Appeal must be dismissed for lack

of jurisdiction.

                                                   Respectfully submitted,

                                                   /s/ David A. Campbell
                                                   David A. Campbell (0066494)
                                                   Donald G. Slezak (0092422)
                                                   Lewis Brisbois Bisgaard & Smith,
                                                   LLP
                                                   1375 E. 9th Street
                                                   Suite 2250
                                                   Cleveland, OH 44114
                                                   Phone: (216) 298-1262
                                                   Fax: (216) 344-9421
                                                   david.a.campbell@lewisbrisbois.com
                                                   donald.slezak@lewisbrisbois.com

                                                   Attorneys for Appellants




4861-0475-7833.1                             11
                   Case: 22-3952   Document: 8    Filed: 01/17/2023   Page: 12




                               CERTIFICATE OF SERVICE

         I hereby certify on this 17th day of January, 2023, the foregoing was

filed through the Court’s CM/ECF electronic filing system and will be served

upon Pro Se Appellant John Koe via email at john@johnkoe.org and via regular

U.S. mail to John Koe, P.O. Box 527, Novelty, OH 44072.



                                                   /s/ David A. Campbell
                                                   David A. Campbell (0066494)

                                                   One of the Attorneys for Appellees




4861-0475-7833.1                             12
